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                        IN THE UNITED STATES DISTRICT COURT

                                       DISTRICT OF IDAHO


 KENT WILLIAMS,                                      Case No. 1:20-cv-00008-REB
                          Plaintiff,
                                                     ORDER GRANTING STIPULATION
                                                     OF THE PARTIES RE: EXPEDITED
      v.                                             MOTION TO APPOINT RULE 706
                                                     EXPERT
 ASSOCIATE WARDEN McKAY et al.,

                          Defendants.




        The Parties have presented a stipulation to the Court, requesting that the Court grant an

expedited motion for the appointment of a Rule 706 expert, specifically, Craig W. Beaver, Ph.D.

The parties rely upon arguably unusual circumstances underlying the dispute between the parties

over prison conditions and Plaintiff’s response to the same, the sum of which has created a

seemingly intractable impasse between Plaintiff and Defendants.

        The Court is persuaded, from its knowledge of the case drawn from filings of both parties

and prior proceedings, that a neutral expert such as Dr. Beaver may assist Plaintiff and

Defendants in working through the issues which have led to the impasse, and that Dr. Beaver’s

involvement would assist the Court and therefore would also be in the best interest of the parties.

Therefore, the Court is satisfied in the exercise of its discretion that it is appropriate to appoint

Dr. Beaver to serve as a neutral expert under Fed. R. Evid. 706, for the purpose among other

things of assisting the Court in determining facts at issue in the case. Fed. R. Evid. 702.




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        Dr. Beaver’s appointment shall be for the limited purpose of evaluating (and potentially

testifying) whether Plaintiff is at risk of committing suicide and whether his current status in that

regard – as a suicide risk, not a suicide risk, or potentially a suicide risk – justifies the restrictions

upon his living conditions that have been placed upon him by Defendants. Because Plaintiff is

indigent, and because a resolution of the impasse between Plaintiff and Defendants would benefit

both parties, the Court finds that it is equitable for the parties to share the expense of Dr.

Beaver’s services, with assistance from the Court’s pro bono account.

        Good cause appearing, IT IS HEREBY ORDERED that the parties’ Stipulation (Dkt. 93)

is GRANTED.

        1. The Court appoints Dr. Craig Beaver as a neutral expert to assist the factfinder under

            the authority of Rule 706 of the Federal Rules of Evidence.

        2. Dr. Beaver’s compensation shall be paid as follows: $100 from Mr. Williams’s

            inmate trust account; $500 from the Court’s pro bono fund; and the remainder by the

            Defendants.

                                                         DATED: April 9, 2021


                                                         _________________________
                                                         Ronald E. Bush
                                                         Chief U.S. Magistrate Judge




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